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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

IN RE:
                                                            CASE NO. 14-36922
ROBERT ARTHUR JOSEPHS                                       CHAPTER 13 BANKRUPTCY
DIANNE KIDDELL JOSEPHS
                   DEBTORS
    ---------------------------------------------------

ROBERT ARTHUR JOSEPHS
DIANNE KIDDELL JOSEPHS

                              (“Mr. And Mrs. Josephs”)

                     PLAINTIFFS

V.                                                          ADV. NO.

MERCEDES-BENZ FINANCIAL SERVICES
USA, LLC

                                             (“Mercedes”)

                     DEFENDANT

 COMPLAINT CONCERNING THE WILLFUL VIOLATION OF THE AUTOMATIC STAY
   OF 11 U.S.C. § 362(a) PURSUANT TO 11 U.S.C. §§ 362(k)(1), 105, TURNOVER
                   PURSUANT TO §542 AND RELATED RELIEF

TO THE HONORABLE BANKRUPTCY JUDGE DAVID R. JONES:

         Mr. and Mrs. Josephs would show this Court that Mercedes has willfully violated

the automatic stay provisions of 11 U.S.C. § 362(a) and the turnover provisions of 11

U.S.C. § 542 by failing, or otherwise refusing, to “deliver” their 2008 Mercedes-Benz

E350 motor vehicle, VIN WDBUF56X08B282320, (“vehicle”) back to Mr. and Mrs.

Josephs after they filed their Chapter 13 bankruptcy.                  After the pre-petition

repossession, but before the 10-day period to redeem the vehicle had expired,

Mercedes transported the vehicle from Houston to the Dallas-Fort Worth area. Since
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being notified of Mr. and Mrs. Josephs’ bankruptcy filing, Mercedes has only offered to:

(1) tender the vehicle to Mr. and Mrs. Josephs by releasing it to them at varying and

unclear locations in the Dallas-Fort Worth area; or (2) “deliver” the vehicle back to

Houston, from where it was repossessed, only upon payment being made to Mercedes.

                                  SECTION I
                  JURISDICTION, VENUE, AND CONSTITUTIONAL
                     AUTHORITY TO ENTER A FINAL ORDER

   1.      Jurisdiction: This Court has jurisdiction over this proceeding pursuant to 28

U.S.C. §§ 157(a) and 1334.

   2.      Venue: Venue is proper for this Court pursuant to 28 U.S.C. § 1409, and for

the reason that Mr. and Mrs. Josephs’ bankruptcy, Case No. 14-36922, was filed in this

Court.

   3.      Core Proceeding: This adversary proceeding constitutes a core proceeding

pursuant to 28 U.S.C. § 157.

   4.      Standing:   There is standing on behalf of Mr. and Mrs. Josephs’ as this

adversary proceeding concerns a private right of action. St. Paul Fire & Marine v.

Labuzan, 579 F.3d 533, 544-545 (5th Cir. 2009).

   5.      Authority To Enter A Final Order: This adversary proceeding arises under

alleged violations of the core bankruptcy rights imposed by an express Bankruptcy

Code provision, relief sought by Mr. and Mrs. Josephs is brought pursuant to 11 U.S.C.

§ 362(k)(1), § 542, and/or §105, state law has no equivalent to these statutes, and the

dispute at hand is not based on state common law, and/or the subject matter of this

adversary proceeding involves the “public rights” exception to the general rule that only

an Article III judge may exercise adjudicative authority. As such, this Bankruptcy Court


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has a right to issue a final judgment in this case in accordance with the exceptions in

Stern v. Marshall, 131 S.Ct. 2594 (2011).

   6.     Consent: Mr. and Mrs. Josephs’ consent to the entry of a final order or a final

judgment by this Court.

   7.     A fundamental discussion of the law of automatic stay violations is included

not for a response to the law, but to mitigate against peripheral defenses or responses

that tend to follow these adversary proceedings. “When an institutional creditor

responds to an obvious violation of the automatic stay or discharge injunction against a

consumer debtor by employing its superior resources to make frivolous responses that

tax the resources of that debtor, those responses should be viewed as nothing more

than an abusive continuation of the original improper conduct being complained of. It is

the most appropriate occasion for imposition of punitive damages.” In re Curtis, 322

B.R. 470,487 (Bankr. D. Mass.2005). There is a need, therefore, for Defendant to

readily admit its misconduct to conserve damages and judicial resources.

                                 SECTION II
                       FACTUAL AND LEGAL BACKGROUND

   8.     On or about May 30, 2010 Mr. and Mrs. Josephs acquired ownership of the

vehicle. Mercedes financed its purchase and retained a security or collateral interest in

the vehicle.

   9.     On or about December 9 or 10, 2014 Mercedes caused the repossession of

the vehicle as Mr. and Mrs. Josephs were delinquent in payment on the note.

Mercedes notified Mr. and Mrs. Josephs that they would hold the vehicle for them to

redeem for a period of 10 days. After that time Mercedes would sell the vehicle at

auction and Mr. and Mrs. Josephs would be dispossessed of ownership.              It was


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presumed that Mercedes would hold their vehicle in the general geographical area

where it had been repossessed while Mr. and Mrs. Josephs still maintained a right of

ownership of the vehicle.

    10.     On December 18, 2014 Mr. and Mrs. Josephs filed their Chapter 13

bankruptcy Petition. (ECF 1) 1. The Petition listed the full names of Mr. and Mrs.

Josephs, their current address, and the last four digits of their Social Security Numbers.

    11.     The filing of the voluntary bankruptcy created a bankruptcy estate, which

included the vehicle.       On the day of the bankruptcy filing, although Mr. and Mrs.

Josephs had lost possession of the vehicle, they had not been dispossessed of

ownership as the 10-day redemption period had not expired, and the vehicle had not

been sold.

    12.     The post-petition earnings of Mr. and Mrs. Josephs were made part of the

bankruptcy estate.

    13.     On December 18, 2014 Mr. and Mrs. Josephs filed Bankruptcy Schedules in

their bankruptcy case.        These schedules included Schedule D – Creditors Holding

Secured Claims. Schedule D provided for Mercedes and the vehicle at an estimated

amount of claim of $8,687.00 and an estimated value of $11,325.00.

    14.     The pre-petition claim held by Defendant is secured.

    15.     On December 18, 2014 Mr. and Mrs. Josephs filed their original Uniform Plan

and Motion for Valuation of Collateral. (ECF 2). Paragraph 8 – All Other Secured

Claims (Property to be Retained) – provided for Mercedes to be paid the lesser of the

amount listed as the collateral value and the allowed amount of its claim for the vehicle.
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 “(ECF ___)”, when used in this complaint is intended to represent the corresponding document of the
Docket Report as maintained by this Court on its ECF / PACER system in relation to the bankruptcy filed
by Mr. and Mrs. Josephs, Case No. 14-36922.


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Further, it stated: “[t]he holder of a claim secured by a valid lien may enforce its lien only

pursuant to § 362”. In addition, the automatic stay was modified to allow monthly

statements to be sent but no other collection activity.

   16.     On December 18, 2014 Mr. Josephs filed his Certificate of Credit Counseling

with the Court.    (ECF 3).     The Certificate demonstrated a pre-petition counseling

completion date of December 18, 2014. Therefore, Mr. Josephs is properly a debtor,

and this Court retains jurisdiction of his bankruptcy.

   17.     On December 18, 2014 Mrs. Josephs also filed her Certificate of Credit

Counseling with the Court.       (ECF 4).    The Certificate demonstrated a pre-petition

counseling completion date of December 18, 2014 for her as well. Therefore, Mrs.

Josephs is properly a debtor, and this Court retains jurisdiction of her bankruptcy.

   18.     11 U.S.C. § 542(a) is clear that “an entity … in possession, custody or control,

during the case, of property that the trustee may use, sell, or lease under …, or that the

debtor may exempt under 522 of this title, shall deliver to the trustee …” (Emphasis

added).    Pursuant to 11 U.S.C. § 1303 Mr. and Mrs. Josephs have the rights and

powers of the Trustee in regard to the use of the vehicle in their Chapter 13 proceeding.

In regard to this provision, the Bankruptcy Court for the Southern District of Texas has

distinguished the requirement of “deliver”, as required by the Bankruptcy Code, from

that of mere “tender”. In re Calvin, 329 B.R. 589, 598-599 (Bankr. S.D. Tex. 2005). As

stated by the Court, “delivery” occurs when the property of the estate is placed into the

hands of Mr. and Mrs. Josephs, in this case. Id at 599. “’[D]elivery’ requires a change in

possession of the property while ‘tender’ is merely a notification of the availability of the

property.” Id at 599. Actual delivery occurs when the lender places the vehicle “into the



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hands of the Trustee.” Id at 599. Further, the Court stated:, “’[t]here is no requirement

in the Code that the trustee make a demand, obtain a court order, or take any further

action in order to obtain turnover [delivery] of the estate’s property’. The obligation ‘is

self-operative and mandatory.” Id at 599 (internal cites omitted).

   19.        Likewise, the automatic stay provisions of 11 U.S.C § 362(a), for which there

is no exception pursuant to 11 U.S.C. § 362(b), prohibit Mercedes from:

         a.      Continuing with its self-help action of repossession of the vehicle

                 §362(a)(1);

         b.      Continuing to exercise control over the vehicle. § 362(a)(3);

         c.      Enforcing its lien against the vehicle. § 362(a)(4) and/or (5); and/or,

         d.      Trying to collect, assess, or recover a claim against Mr. and Mrs. Josephs,

                 that arose before the commencement of their bankruptcy. § 362(a)(6).

   20.        On December 19, 2014 the law office of J. Thomas Black, P.C. (“Black”), Mr.

and Mrs. Josephs’ bankruptcy lawyers, contacted Mercedes by telephone to place it on

notice and/or knowledge of the bankruptcy, to stop the auction of the vehicle, and to

obtain the “delivery” of the vehicle back to Mr. and Mrs. Josephs.

         a.      Black first contacted Mercedes Customer Service, provided them verbal

                 notice of the bankruptcy filing, Mercedes loan number, and the last four

                 digits of Mr. and Mrs. Josephs’ Social Security Numbers.           Mercedes

                 informed Black that the Bankruptcy Department was closed and the firm

                 would have to contact them on Monday. It was explained to customer

                 service that the vehicle was repossessed on or about December 9, 2014,




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     there was some concern that the 10 day redemption period ended that

     day, and needed to speak with someone about stopping the auction.

b.   Black was transferred by telephone to Mercedes’ Recovery Department,

     and spoke with a person who identified himself as Donavan. Again, Black

     provided Donavan verbal notice of the bankruptcy and all relevant

     bankruptcy information. Explained efforts needed to be made to stop the

     auction of the vehicle and have it returned. Donavan informed Black that

     the Bankruptcy Department was closed and they would need to call back

     on Monday. It was explained that action was needed to be taken today in

     order to prevent the sale of the vehicle.

c.   Black was then transferred to Eileen in the Bankruptcy Department, which

     turned out to be open after all.     Eileen checked PACER while on the

     phone with Black, and verified the case information provided to her by

     Black. She provided a fax number of 877-340-8261. Demand was made

     for Mercedes to stop the auction and to turn over the vehicle.

d.   As a result of the demand made, Black was transferred to Katie in the

     Mercedes Exceptions Department.         Again, bankruptcy information was

     provided and demand was made to stop the auction and obtain the turn

     over of the vehicle.   Katie informed Black that the vehicle was at the

     Manheim Auto Auction in Fort Worth, Texas that the vehicle would be

     released to Mr. and Mrs. Josephs at the Manheim location, believe to be

     12101 Trinity Blvd., Euless TX 76040, and Mr. and Mrs. Josephs should

     contact Manheim directly to arrange a time for them to pick up the vehicle.



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               Upon complaint of the distance now between the vehicle and Mr. and Mrs.

               Josephs, it was suggested by Katie that the vehicle could be brought back

               to Mr. and Mrs. Josephs in Houston, but that would take a few days.

   21.     On December 19, 2014 Black contacted Mercedes again and spoke with

Katie again.     Black informed Katie that Mr. and Mrs. Josephs needed the vehicle

delivered back to them in Houston, and not Fort Worth or Euless, Texas. Although

Katie initially stated that she would contact a driver to have the vehicle returned, she

informed Black that she would have to obtain authority with another department of

Mercedes because the vehicle had been “charged off.”          Black was informed that

someone else from Mercedes would contact the law firm concerning this issue.

   22.     On December 19, 2014 a Mercedes’ representative, who identified himself as

Juan, contacted Black by telephone. He informed Black that the vehicle would not be

delivered back to Mr. and Mrs. Josephs in Houston.        He stated that Mr. and Mrs.

Josephs would be required to travel to and from Fort Worth, Texas to obtain possession

of their vehicle. When informed that the law requires Mercedes to deliver to Mr. and

Mrs. Josephs their vehicle, he stated that the vehicle would be delivered to them at

Manheim Auto Auction, the one located in Euless, Texas.

   23.     On December 19, 2014 Black drafted a demand letter to Mercedes that the

vehicle be returned to Mr. and Mrs. Josephs’ immediately. The letter provided direct

otice of Mr. and Mrs. Josephs’ bankruptcy as it had attached the Notice of Bankruptcy

Case Filing, as provided online by the Court, as well as a copy of Mr. and Mrs. Josephs’

Uniform Plan and Motion for Valuation of Collateral. The letter and these attachments




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were delivered to Mercedes by facsimile to its Bankruptcy Department’s fax number

previously provided, as well as by mail.

   24.     On December 19, 2014 the Mercedes’ Bankruptcy Department faxed a

response letter to Black.    This letter advised Black that the vehicle was located at

ADESA auction house located at 3501 N. Lancaster Hutchins Road, in Hutchins TX,

which is substantially different from the Manheim auction house located in Euless,

Texas from where Mr. and Mrs. Josephs had been previously instructed to pick up their

vehicle. Mercedes’ response letter offered to tender the vehicle at the Hutchins, Texas

address to Mr. and Mrs. Josephs, or to transport the vehicle to a Houston area

dealership, provided only that Mr. and Mrs. Josephs pay the costs of such delivery.

Additionally, the letter states: “If you have any additional information that identifies who

the transportation fees should be billed to please let us know.”

   25.     The right to collect fees for the delivery of the vehicle back to the Houston

area would be based on a claim that arose before the commencement of Mr. and Mrs.

Josephs’ bankruptcy in violation of 11 U.S.C. § 362(a)(6). Further, it has been long held

“[e]ach party to a court order is responsible for ensuring its own compliance with that

order and for shouldering the cost of compliance.” In re Jove Engineering, Inc., 92 F.3d

1539, 1557 (11th Cir. 1996) (Internal cites omitted).

   26.     On December 22, 2014, although this matter had been referred to

undersigned counsel for an action on turnover, Black was contacted by attorney John

Lively of Lively & Associates in Fort Worth, Texas (Lively) on behalf of Mercedes. Lively

stated that he would speak to Mercedes about delivering the vehicle back to Mr. and

Mrs. Josephs in Houston, and would get back with Black on December 23, 2014.



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   27.      Black has neither heard back from Lively or Mercedes concerning the delivery

of the vehicle, nor has the vehicle been delivered back to Mr. and Mrs. Josephs as

demanded.

   28.      With the confusion between whether the vehicle is with Manheim or ADESA

auto auctions truly leaves Mr. and Mrs. Josephs uncertain as to the location of their

vehicle.

   29.      The distance between Mr. and Mrs. Josephs’ home and the address provided

for Manheim auto auction house amounts to a round trip of approximately 538 miles,

and would require at a minimum of eight hours of non-stop driving.

   30.      The distance between Mr. and Mrs. Josephs’ home and the address provided

for ADESA auto auction house amounts to a round trip of approximately 468 miles, and

would require at a minimum of seven hours of non-stop driving.

   31.      Manheim and ADESA are on opposite sides of the greater Dallas – Fort

Worth metroplex from each other.

   32.      It is believed, unlike typical storage lots, that both Manheim and ADESA

maintain restricted times or periods during which it will allow debtors to pick up vehicles.

Further, both typically will not allow vehicles to be released at their facilities without

debtors signing full releases of liability as to both the auction houses and Mercedes.

Further still, depending on the stage of preparation of the auction, Manheim and ADESA

may have removed and disposed of all stickers and plates necessary to operate the

vehicle on the Texas public roads.

   33.      Although the demand for delivery of the vehicle was made during the greater

holiday season of Christmas and New Year’s, Mercedes had at least eight operating



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business days to comply by arranging to deliver the vehicle back to Mr. and Mrs.

Joseph, if that was Mercedes intent before this adversary was filed.            The turnover

requires Mercedes to “immediately deliver” the vehicle to Mr. and Mrs. Josephs. Calvin

at 599.

   34.      The vehicle is properly insured.

   35.      This adversary is brought to force the turnover and delivery of the vehicle to

Mr. and Mrs. Josephs and to seek redress for the injuries caused to them by Mercedes.

   36.      There is a governmental interest in preventing the unique harm that occurs in

regard to violations of the Bankruptcy Code.

   37.      The Bankruptcy Code and the notice to Defendant, as stated above, place

Defendant on fair notice of the damages that may be imposed due to the violation of its

orders and injunctions, including the imposition of punitive damages.

   38.      The degree of reprehensibility of the collection practices and actions is high

for the reasons that (1) the financial vulnerability of the target, Mr. and Mrs. Josephs, is

evident by their bankruptcy filing and (2) the harm is more than economic in nature. Mr.

and Mrs. Josephs’ core bankruptcy rights have been violated.

   39.      Should the collection practices and actions of Defendant be allowed to

continue or succeed, it will imperil the fresh start of Mr. and Mrs. Josephs.

   40.      The injury to Mr. and Mrs. Josephs, in terms of describing and understanding

the full consequences of violating the core bankruptcy rights of Mr. and Mrs. Josephs, is

hard to detect.

   41.      The full monetary value of noneconomic harm associated with the collection

practices and actions of Defendant is difficult to determine.



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   42.        The resources necessary to police the conduct of Defendant and to prevent

the unique harm that has occurred post-petition are lacking on the part of Mr. and Mrs.

Josephs.

   43.        The above-stated collection practices or actions of Defendant, has resulted in

a substantial amount of undue frustration, anxiety and mental anguish or distress on the

part of Mr. and Mrs. Josephs, which is more than fleeting and inconsequential. The

harm stated is substantiated by the facts of this Complaint alone. Although not limited

to the list below, the distress has manifested itself as follows:

         a.      Violation of the core bankruptcy rights and Constitutional rights.

         b.      Loss of sleep.

         c.      Anxiety.

         d.      Shock of conscience.

         e.      Impaired enjoyment of life.

         f.      A sense of dread.

         g.      A sense of failure.

         h.      A lack or diminution of self-worth.

         i.      A significant amount of stress.

         j.      Harassment.

         k.      Distraction.

         l.      Low self-esteem.

         m.      Ruining the Holiday Season.

         n.      Inability to concentrate adequately on work.

         o.      Inability to concentrate on family duties and obligations.



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        p.       A sense of embarrassment and discomfort that is greater than the general

                 level of embarrassment and discomfort felt in filing bankruptcy or for the

                 inability to pay a debt or bill.

        WHEREFORE, PREMISES CONSIDERED, it is the prayer of Plaintiffs, Mr. and

Mrs. Josephs, that the Court will:

   1.         Require the immediate turnover of the 2008 Mercedes-Benz E350 motor

vehicle, VIN WDBUF56X08B282320, by delivering same to Mr. and Mrs. Josephs at

their house in Houston, Texas.

   2.         Find that Defendant violated the turnover provisions and requirements of the

Bankruptcy Code;

   3.         Find that the violation of the turnover provisions by Defendant was with notice

or knowledge of this bankruptcy filing;

   4.         Find that Defendant violated one or more of the automatic stay provisions in

the underlying bankruptcy;

   5.         Find that the violation of the automatic stay by Defendant was or is willful

and/or intentional;

   6.         Enforce the order(s), rule(s) and injunction(s) of this Court or the Bankruptcy

Code or Rules as necessary, including, but not limited to, a finding of contempt on the

part of Defendant, the issuance of any declaratory judgment, and/or the issuance of any

injunction;

   7.         Sanction or award against Defendant all actual damages for all financial and

non-financial harm or injury incurred by Mr. and Mrs. Josephs;




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   8.       Sanction or award against Defendant and to Mr. and Mrs. Josephs, and for

the benefit of Chuck Newton, all of the attorneys’ fees, costs and expenses incurred

with Chuck Newton, and the law firm of Charles Newton & Associates, in representing

Mr. and Mrs. Josephs in these matters;

   9.       Sanction or award against Defendant and to Mr. and Mrs. Josephs, and for

the benefit of Black, all of the attorneys’ fees, costs and expenses incurred by the law

firm in representing Mr. and Mrs. Josephs in the matters particular to this adversary

proceeding;

   10.      Sanction or award against Defendant and to Mr. and Mrs. Josephs emotional

distress damages;

   11.      Sanction or award against Defendant and to Mr. and Mrs. Josephs punitive

damages;

   12.      Award prejudgment interest;

   13.      Award post judgment interest; and

   14.      Grant any and all other relief in equity or in law to which Mr. and Mrs. Josephs

may be entitled.

                                           Respectfully submitted,



                                           _______________________________
                                           CHARLES (CHUCK) NEWTON
                                           Texas Bar No. 14976250
                                           SDTX Bar No. 27900
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                                    CERTIFICATE OF SERVICE

       I certify that a true and correct copy of the foregoing Complaint was served on
the following parties, not otherwise served by summons, via electronic means, if
possible, otherwise by the means stated below:

Robert Arthur Josephs                              MAIL (No)
Dianne Kiddell Josephs                             FAX (No)
Debtors / Plaintiffs                               EMAIL (YES)
1724 Crownover Road
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J. Thomas Black                                    MAIL (No)
J. Thomas Black, P.C.                              FAX (No)
Bankruptcy Atty. for Mr. and Mrs. Josephs          EMAIL tom@jthomasblack.com
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William E. Heitkamp                                MAIL (No)
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DATED: January 3, 2015




                                            _______________________________
                                            CHARLES (CHUCK) NEWTON




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